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7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )            CASE NO. CR. S-06-058 FCD
                                   )
12                  Plaintiff,     )
                                   )            STIPULATION TO CONTINUE
13        v.                       )            STATUS CONFERENCE AND
                                   )            EXCLUDE TIME UNDER THE
14   IOSIF CAZA,                   )            SPEEDY TRIAL ACT; PROPOSED
                                   )            ORDER
15                  Defendant.     )
                                   )
16                                 )
                                   )            Date: July 31, 2006
17                                 )            Time: 9:30 A.M.
                                   )            Courtroom: Two
18   _____________________________ )            Hon. Frank C. Damrell Jr.
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant IOSIF
21   CAZA and the United States of America, through their respective
22   counsel, that the status conference presently set for July 31,
23   2006, be continued to August 21, 2006 at 9:30 a.m. and that time
24   under the Speedy Trial Act should be excluded through August 21,
25   2006.
26        Government counsel has been unavailable due to illness,
27   necessitating a delay in communication with defense counsel.            In
28   order for the government to provide defense counsel with promised

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1    materials, allow sufficient time for the defense to prepare, and
2    avoid any waste of judicial resources, the parties stipulate to
3    this continuance and agree that time should be excluded pursuant
4    to Local Code T4.
5         Defendant CAZA, who is not in custody, understands his
6    rights under the Speedy Trial Act, and consents to this
7    continuance.
8    DATED: July 28, 2006                     McGREGOR W. SCOTT
                                              United States Attorney
9
10                                     By: /s/ Camil A. Skipper
                                           CAMIL A. SKIPPER
11                                         Assistant U.S. Attorney
12
13   DATED: July 28, 2006                     /s/ Matthew G. Jacobs
                                              MATTHEW G. JACOBS
14                                            Attorney for IOSIF CAZA
15                                    ORDER
16        1.   The status conference presently set for July 31, 2006,
17   is continued to August 21, 2006, at 9:30 A.M.
18        2.   Based upon the representations of the parties, the
19   Court found that the ends of justice outweighed the best interest
20   of the public and the defendant in a speedy trial and excluded
21   time under the Speedy Trial Act through August 21, 2006.          For the
22   reasons stated in this pleading, the Court finds excludable time
23   through August 21, 2006.
24        IT IS SO ORDERED.
25   Date: July 28, 2006
26                                    /s/ Frank C. Damrell Jr.
                                      FRANK C. DAMRELL, Jr.
27                                    United States District Judge
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